
The People of the State of New York, Respondent,
againstJosefina Sauri, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Bruna L. DiBiase, J.), rendered April 6, 2014, convicting her, upon her plea of guilty, of theft of services, and imposing sentence.




Per Curiam.
Judgment of conviction (Bruna L. DiBiase, J.), rendered April 6, 2014, affirmed.
In view of defendant's knowing waiver of her right to prosecution by information, the facial sufficiency of the accusatory instrument must be assessed under the standard required of a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 521 [2014]). So viewed, the accusatory instrument charging theft of services (see Penal Law § 165.15[3]) was not jurisdictionally defective. Defendant's intent to unlawfully obtain subway service is reasonably inferred from the surrounding circumstances of her actions (see People v Bracey, 41 NY2d 296, 301 [1977]), including her entry into the subway system "without paying the required fare, by crawling under a turnstile" (see People v Barlow, 46 Misc 3d 148[A], 2015 NY Slip Op 50237[U] [App Term, 1st Dept 2015], lv denied 25 NY3d 1069 [2015]; People v Mann, 53 Misc 3d 128[A], 2016 NY Slip Op 51344[U] [App Term, 1st Dept 2016]; see also People v Pin, 41 Misc 3d 128[A], 2013 NY Slip Op 51681[U] [App Term, 1st Dept 2013], affd on other grounds sub nom. People v Matthew P., 26 NY3d 332 [2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 13, 2017










